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       In the United States Court of Federal Claims
                                     No. 16-840C
                                (Filed: July 24, 2018)


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                                    *
BITMANAGEMENT SOFTWARE              *
GMBH,                               *
                                    *
                  Plaintiff,        *
                                    *
            v.                      *
                                    *
THE UNITED STATES,                  *
                                    *
                  Defendant.        *
                                    *
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                                       ORDER

        On May 11, 2018, Defendant filed its Reply in Support of its Objection to
Evidence offered in Support of Plaintiff’s Motion for Partial Summary Judgment on
Liability, ECF No. 31. The Court ORDERS Plaintiff to file a sur-reply no later than
August 1, 2018.

       IT IS SO ORDERED.
                                                         s/ Edward J. Damich
                                                         EDWARD J. DAMICH
                                                         Senior Judge
